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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

EASTERN DISTRICT OF NEW YORK

Carlos Contreras )
)
)
)
Plaintiff(s) )
) Civil Action No. 25-cv-00418-AYS
V.
Polar Property Services, Inc., John A. Romanelli and
Richard P. Sculco )
)
)
Defendant(s) )
SUMMONS IN A CIVIL ACTION
To: John A Romanelli
2887 Charles Rd

Wantagh, NY 11793
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Steven John Moser

Moser Law Firm, PC

133 C New York Avenue
Huntington, NY 11743
steven.moser@moserlawfirm.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
*LERK OF COURT

abe Yee
bee Th ae:

Date. 1/24/2025

Signature of Clerk or Deputy Clerk

